        Case 2:18-cv-03299-CMR Document 156 Filed 05/28/19 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA



 I~ RE: GENERIC PHAR:\1ACEUTICALS                         MDL 2724
 PRICING ANTITRUST LITIGATION                             16-MD-2724


 THIS DOCUMENT RELATES TO:                                HON. CYNTHIA M. RUFE

 Humana Inc. v. Actavis Elizabeth. LLC et al.             Individual Case No. 2:18-cv-03299-
                                                          CMR



           JOINT STIPULATION TO STRIKE PORTIONS OF HUMANA'S
        SECOND AMENDED COMPLAINT AND DISMISS THE PRA VAST A TIN
               CLAIMS AS TO DEFENDANTS MYLAN N.V., MYLAN
        PHAR1\1ACEL'TICALS, INC., MYLAN INC., AND UDL LABORATORIES

        WHEREAS, Plaintiff, Humana Inc. ("Humana") filed an initial Complaint in the above-

captioned matter on August 3, 2018, which is centralized for pretrial proceedings as part of In re

Generic Pharmaceuticals Pricing Antitrust Litigation, Case No. 16-md-02724-CMR, MDL No.

2724;

        WHEREAS, Humana filed an Amended Complaint on December 21, 2018, which

alleged that Defendants Mylan N.V., Mylan Pharmaceuticals, Inc., Mylan Inc., and lJDL

Laboratories Inc. (collectively "Mylan") conspired to fix the prices of generic pravastatin in

violation of Section I of the Sherman Act (Count LXXXI) and certain state antitrust and

consumer protection Jaws (Count LXXXII and LXXXIII), for unjust enrichment (LXXXIV), and

for declaratory and injunctive relief under Section 16 of the Clayton Act (LXXXV);

        WHEREAS, on February 21, 2019, pursuant to an agreement between Humana and

:viylan, Humana filed a Notice of Voluntary Dismissal Pursuant to Fed. R. Civ. P. 4l(a)(l)(A)(i)

to dismiss Counts LXXXI - LXXXV of the Amended Complaint against Mylan without

prejudice;
       Case 2:18-cv-03299-CMR Document 156 Filed 05/28/19 Page 2 of 4




       WHEREAS, the parties wish to conform Humana's Second Amended Complaint, filed

April 1, 2019, to reflect the February 21, 2019 Notice of Dismissal without the need at this time

to file a Third Amended Complaint.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the

undersigned counsel, on behalf of their respective clients, as follows:

        I.     Counts LXXXI - LXXXV of the Amended Complaint against Mylan are

voluntarily dismissed without prejudice to Humana's right to later file a motion for leave to

amend its complaint to re-allege pravastatin claims against Mylan, and with each party bearing

its own costs, expenses and attorneys' fees. This stipulation of dismissal is not to be construed as

an adjudication on the merits.

       2.      The pravastatin allegations identified below shall be stricken as to Mylan from

Humana's April I, 2019 Second Amended Complaint as follows:

                                                      '
 Paragraph Allegation (edits      in red)     '
                                                                                                '




 68            Defendant Mylan Pharmaceuticals, Inc. is a West Virginia corporation with its
               principal place of business in Morgantown, West Virginia. During the relevant
               time period, Mylan Pharmaceuticals Inc., participated in the alleged conspiracy
               marketed and sold one or more of the Subject Drugs throughout the United
               States, and was a leading manufacturer of Amitriptyline, Benazepril,
               Clomipramine, Digoxin, Divalproex, Doxycycline, Levothyroxine, Pravastatin,
               Propranolol, and Verapamil.

 106           Defendants Actavis, Apotex, Dr. Reddy's, Glenmark, Lupin, Mylan; Teva, and
               Zydus shall collectively be referred to as the "Pravastatin Defendants."

 634           Pravastatin Defendants Actavis, Apotex, Dr. Reddy's, Glenmark, Lupin, Mylan,
               Teva, and Zydus dominate the market for Pravastatin.

 640           Although WAC data is not available for Actavis, Dr. Reddy's, or Glenmark, Bf
               Mylan. upon information and belief, they implemented virtually identical price
               increases at virtually the same time in their generic Pravastatin products.

 641           Prices continued to increase after August of 2013. In the October 2014 letters
               Senator Sanders and Representative Cummings sent to generic manufacturers as
               part of their investigation, they outlined the price increase Pravastatin saw
               between October 2013 and April 2014. The sent letters to Defendants~~- 1--:-:, Dr.

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         Case 2:18-cv-03299-CMR Document 156 Filed 05/28/19 Page 3 of 4




               Reddy's, Apotex, Teva, and Zydus, and depicted the following price increases
               during that six-month period:

 Count         VIOLATION OF SECTION 1 OF THE SHER1VIAN ACT
 LXXXI         (PRA VAST ATIN)
               (As to Actavis, Apotex, Dr. Reddy's, Glenmark, Lupin, Mylan, Teva, and
               Zydus)

 Count         FOR CONSPIRACY AND COMBINATION IN RESTRAINT OF TRADE
 LXXXII        UNDER STATE LAWS (PRAVASTATIN)
               (As to Actavis, Apotex, Dr. Reddy's, Glenmark, Lupin, Mylan, Teva, and
               Zydus)

 Count         UNFAIR AND DECEPTIVE TRADE PRACTICES UNDER ST ATE LAW
 LXXXIII       (PRA VAST ATIN)
               (As to Actavis, Apotex, Dr. Reddy's, Glenmark, Lupin, Mylan, Teva, and
               Zydus)

 Count         UNJL'ST ENRICHMENT UNDER ST ATE LAW (PRA VASTATIN)
 LXXXIV
               (As to Actavis, Apotex, Dr. Reddy's, Glenmark., Lupin, Mylan, Teva, and
               Zydus)

 Count         DECLARATORY AND INJUNCTIVE RELIEF UNDER SECTION 16 OF
 LXXXV         THE CLAYTON ACT FOR VIOLATIONS OF SECTIONS 1 AND 2 OF
               THE SHERMAN ACT (PRA VAST AIN)
               (As to Actavis, Apotex, Dr. Reddy's, Glenmark, Lupin, Mylan, Teva, and
               Zydus)



         3.    If Humana files a Third Amended Complaint after the date of this Stipulation for

any reason, it shall amend the pravastatin allegations as to Mylan consistent with Paragraph 2

above.

         IT IS SO STIPULATED.




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      Case 2:18-cv-03299-CMR Document 156 Filed 05/28/19 Page 4 of 4




Dated: May 20, 2019



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